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                   Supreme Court of the United States
                          Office of the Clerk
                      Washington, DC 20543-0001
                                                                      Scott S. Harris
                                                                      Clerk of the Court
                                                                      (202) 479-3011
                                     January 8, 2024


     Clerk
     United States Court of Appeals for the Eleventh
     Circuit
     56 Forsyth Street, N.W.
     Atlanta, GA 30303
                                                              22-mj-08332-BER-1

           Re: Michael S. Barth                                                AP
               v. United States
               No. 23-528
               (Your No. 22-12791)                                 Jan 8, 2024

                                                                                  MIAMI
     Dear Clerk:

           The Court today entered the following order in the above-entitled case:

           The petition for a writ of certiorari is denied.



                                             Sincerely,




                                             Scott S. Harris, Clerk
